Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 1 of 6 Page ID #:19291




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 16
 17                            UNITED STATES DISTRICT COURT
 18                           CENTRAL DISTRICT OF CALIFORNIA
 19
                                             CASE NO.: 2:16-cv-04502 MLH (MRW)
 20        TWIN RIVERS                       HON. MARILYN L. HUFF
 21        ENGINEERING, INC.,
                                             PLAINTIFF TWIN RIVERS
 22                          Plaintiff,      ENGINEERING, INC.’S RESPONSE TO
                                             DEFENDANTS’ MOTION IN LIMINE NO.
 23
                                 v.          2 TO EXCLUDE ADDITIONAL OR NEW
 24                                          EVIDENCE REGARDING PLAINTIFF’S
 25        FIELDPIECE INSTRUMENTS,           DAMAGES
           INC., and CHY FIREMATE
 26        CO., LTD.,                        Trial Date: May 30, 2018
 27                        Defendants.       Time: 9:00 a.m.
                                             Place: Santa Ana
 28

                   PLAINTIFF TWIN RIVERS ENGINEERING, INC.’S RESPONSE TO
                 DEFENDANTS’ MOTION IN LIMINE NO. 2 TO EXCLUDE ADDITIONAL
                     OR NEW EVIDENCE REGARDING PLAINTIFF’S DAMAGES
                              CASE NO. 2:16-cv-04502-MLH (MRW)
Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 2 of 6 Page ID #:19292




   1         Plaintiff Twin Rivers Engineering, Inc. (“TRE” or “Plaintiff”) submits this
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       opposition to Defendants’ Motion In Limine No. 2 to Exclude Additional or New
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   4 Evidence Regarding Plaintiff’s Damages.
   5         In their motion, Defendants argue that the Court should “restrict Plaintiff to the
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       damages-related evidence in the record as Plaintiff’s Answer to Defendant CHY’s
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   8 Interrogatory No. 13.” Doc. 380 at 1. Defendants argue that TRE should be limited to
  9 one interrogatory answer as evidence of damages as a sanction for alleged discovery
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    abuses. Such sanctions are not warranted and TRE should be allowed to refer to the
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 12 entire record and elicit testimony from fact witnesses relevant to the Georgia-Pacific
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       factors for determining damages in the form of a reasonable royalty.
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 15          Moreover, a motion in limine seeking discovery sanctions or re-hashing a

 16 summary judgment motion is improper. In Mixed Chicks LLC v. Sally Beauty Supply
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    LLC, 879 F. Supp. 2d 1093 (C.D. Cal. 2012), the district court listed “examples of
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 19 improper reasons for motions in limine,” including using them “[a]s a substitute for
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       motions to compel discovery or for discovery sanctions that should have been brought
 21
 22
       earlier” and “[a]s a substitute for summary judgment.”         Here, Defendants seek

 23 discovery sanctions under Federal Rule of Civil Procedure 37 that should have been
 24
       brought earlier. In addition, Defendants are again seeking to limit TRE’s damages
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 26
 27
                                                 1
 28                  PLAINTIFF TWIN RIVERS ENGINEERING, INC.’S RESPONSE TO
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Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 3 of 6 Page ID #:19293




   1 after having done so in their motions for summary judgment. Both purposes are
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       improper and the motion should be denied for those reasons alone.
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   4         In any event, damages evidence should not be excluded. In Deckers Outdoor

   5 Corp. v. Romeo & Juliette, Inc., 2017 U.S. Dist. LEXIS 217136, at *20 (C.D. Cal. Oct.
   6
       6, 2017), the defendant filed a motion in limine “to preclude [the plaintiff] from
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   8 presenting testimony at trial from any witness regarding a possible reasonable royalty
  9 as a measure of damages.” The defendant complained that the plaintiff failed to
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    submit an expert report on reasonable royalty and that “throughout discovery, [the
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 12 plaintiff] failed to provide answers regarding a possible reasonable royalty or a
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       computation of a reasonable royalty.” Id. The Court agreed with the plaintiff that
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 15 “expert testimony is not required to prove a reasonable royalty” and found “that any
 16 evidence that [the plaintiff] has previously disclosed to [the defendant] which would
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    support an award of reasonable royalties … is admissible.” Id. at *22; see TRE’s
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 19 response to Interrogatory No. 15 (Ex. 1) (identifying a multitude of documents upon
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       which TRE will rely to support its claim for damages and reasonable royalties). The
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       court thus denied the motion in limine.

 23          Here, Defendants argue that TRE “has failed to provide any damages analysis
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       other than that which it provided in response to CHY’s Interrogatory No. 13 and its
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 26 claim to the Court that it could ‘prove damages in the range of $50 million.’” In
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                                                 2
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Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 4 of 6 Page ID #:19294




   1 Deckers, 2017 U.S. Dist. LEXIS 217136, at *21, the court stated “a reasonable royalty
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       is mandated by law upon a finding of patent infringement. Section 284 states, ‘[u]pon
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   4 a finding for the claimant the court shall award the claimant damages adequate to
   5 compensate the infringement, but in no event less than a reasonable royalty….’”
   6
       (quoting 35 U.S.C. § 284) (emphasis in Deckers). “This section requires courts to
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   8 award at least a reasonable royalty ‘even if the plaintiff has no evidence to proffer.’”
  9 Kaneka Corp. v. SKC Kolon PI, Inc., 2015 WL 12696109, at *3 (C.D. Cal. Nov. 5,
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    2015) (citing Info-Hold, Inc. v. Muzak LLC, 783 F.3d 1365, 1372 (Fed. Cir. 2010).
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 12 “Thus, even when a patentee provides no evidence concerning a reasonable royalty
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       ‘the district court should consider the Georgia-Pacific factors… and award such
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 15 reasonable royalties as the record evidence will support.’” Info-Hold, 783 F.3d at 1372
 16 (quoting Dow Chem. Co. v. Mee Indus., Inc., 341 F.3d 1370 (Fed. Cir. 2003)) (internal
 17
    quotations omitted)). Thus, all record evidence should be admissible in assessing
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 19 damages.
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             Accordingly, Defendants’ Motion In Limine No. 2 should be denied, TRE
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       should be allowed to elicit testimony from fact witnesses regarding TRE’s damages,

 23 and TRE should be allowed to rely on any evidence in the record to prove damages.
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                                                 3
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                                CASE NO. 2:16-cv-04502-MLH (MRW)
Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 5 of 6 Page ID #:19295




   1 Dated: May 11, 2018                         Respectfully submitted,
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                                       CERTIFICATE OF SERVICE
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             I hereby certify that on the 11th day of May, 2018, I will electronically file the
 16
       foregoing with the Clerk of Court using the CM/ECF system, which will then send a
 17
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Case 2:16-cv-04502-MLH-MRW Document 393 Filed 05/11/18 Page 6 of 6 Page ID #:19296




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